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                                                                May 5, 2016

Via ECF
Hon. Steven I. Locke, U.S.M.J.
U.S. Courthouse
100 Federal Plaza, Courtroom 820
Central Islip, NY 11722

               Re:               Siancas et al. v. Exclusive Detailing Inc. et al.
                                 Docket No.: 2:14-cv-6151

Dear Judge Locke:

        This office represents defendant Exclusive Detailing, Inc. (EDI) in the above referenced
matter. Pursuant to Your Honor’s order dated April 4, 2016, please accept the following status
update as to EDI’s bankruptcy filing.

               1. EDI’s Bankruptcy

        Exclusive Detailing, Inc. is in the process of filing for Chapter 7 protection. Based upon
the timing and season of the filing, we are still waiting to receive Exclusive's 2015 Corporate Tax
Returns from the accountant in order to file same. Michael Agolia, principal of Exclusive
Detailing, Inc., and his wife have filed their bankruptcy application, Case No.: 16-13291, and it is
proceeding before the appointed Trustee, Bruce Atkinson.

               2. Plaintiff’s Pending Motion to Compel against EDI

        Plaintiff currently has a motion to compel pending with the court against EDI. The
discovery Plaintiff seeks has been satisfied. On December 2, 2015 I submitted correspondence to
the court as to the Excel spreadsheets relating to the employee lists (Document 110). On December
14, 2015 I submitted correspondence to the court, wherein I advised that defendant submitted to
Plaintiff’s counsel a USB drive. (Document 111). In addition, the above bankruptcy filing will
make this entire matter moot.

                                                                              Respectfully Submitted,

                                                                              Michael K. Chong
                                                                              Michael K. Chong, Esq.
MKC/
cc:  Plaintiff's counsel
     Co-Defendants' counsel / Rallye Motors Defendants
     Clients
